           CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 1 of 38




                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
_____________________________________

Tenner Murphy, by                                         Civ. No. 16-cv-2623 (DWF/BRT)
his guardians Kay and Richard Murphy;
Marrie Bottelson; Dionne Swanson; and
on behalf of others similarly situated,                          FIRST AMENDED
                                                    CLASS ACTION COMPLAINT AND
                   Plaintiffs,                          REQUEST FOR INJUNCTIVE
                                                           DECLARATORY RELIEF
v.
                                                              JURY TRIAL DEMANDED
The Minnesota Department of Human
Services, an agency of the State of
Minnesota; and Emily Johnson Piper in
her Capacity as Commissioner of The
Minnesota Department of
Human Services,

           Defendants.
_____________________________________

                                     INTRODUCTION

         This is a case about individual choice. Specifically, choosing where to live – a

choice most of us take for granted. But Plaintiffs, who are individuals with disabilities,

have been denied this most basic choice. The Minnesota Department of Human Services

(“DHS”) has promised for many years to “help[] people move to more integrated settings,

homes that they choose,” (DHS Advertisement, ACCESS PRESS, September, 2015) but it

has failed to give Plaintiffs and hundreds of similarly situated individuals the opportunity

to meet that goal. Defendants established and maintain a discriminatory residential

service system that funnels individuals with disabilities into segregated housing while

restricting their ability to move to more integrated settings of their own choice.



1503-0404974-1681073.docx
         CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 2 of 38




        Plaintiffs in this class action lawsuit are individuals with disabilities who want to

be integrated into their communities, like people without disabilities, but have been

denied the opportunity due to the actions and inactions of Defendants. The Class consists

of individuals who are receiving a Medicaid Home and Community Based Disability

Waiver (“Disability Waiver”) and are living in a Community Residential Setting (“CRS”)

facility, but want to live elsewhere and be integrated into their community. Instead,

Defendants have needlessly segregated the Individual Plaintiffs and Class Members

(collectively referred to as the “Plaintiffs”) away from their family, friends, and the

communities in which they wish to live.

                               FACTUAL BACKGROUND

        1.     Plaintiffs have various disabilities, including but not limited to

developmental, physical, and mental health disabilities, as well as brain injuries.

        2.     Each Plaintiff receives a Disability Waiver to pay for services. The main

purposes of the Disability Waiver are to enable Plaintiffs to interact with the larger

nondisabled community and to allow them to live where they want and with whom they

want.

        3.     Defendants’ management of the Disability Waivers has failed to achieve

these purposes. Instead, Defendants have created, maintained, and over-relied on a

residential service system that limits individual autonomy, choice, and integration. This

system violates the integration mandate in Title II of the Americans with Disabilities Act

(“ADA”) which requires Defendants to “administer services, programs, and activities in



                                               2
         CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 3 of 38




the most integrated setting appropriate to the needs of qualified individuals with

disabilities.” 28 C.F.R. § 35.130(d).

       4.      Defendants’ overreliance on services provided in CRS facilities results in

the segregation of Plaintiffs. Plaintiffs demand that Defendants offer an informed choice

and realistic opportunity to receive residential services in the most integrated setting.

       5.      Defendant DHS defines segregated settings as “congregate settings

populated exclusively or primarily with individuals with disabilities . . . [and]

characterized by regimentation in daily activities [and] limits on individuals’ ability to

engage freely in community activities.” Minnesota Olmstead Plan: Demographic

Analysis, Segregated Settings Counts, Targets and Timelines, September 20, 2014, p. 8.

       6.      Many of Defendants’ sanctioned CRS facilities are segregated settings

because Plaintiffs are limited in who they can live and associate with. They are also

limited in where and how they spend their leisure time, how their days are structured, and

what opportunities they are given to interact with people outside the CRS facility. CRS

facilities contain up to five persons, all with disabilities, living in a residence that is

owned, leased, operated, and/or controlled by the same organization that provides the

services. Consequently, Defendants do not provide Plaintiffs with adequate individual

choices necessary to allow them to live in the most integrated setting.

       7.      In contrast to the CRS model, individualized housing uses Disability

Waiver services, including person-centered planning, to design and implement a

customized setting for the individual to live, work, and enjoy leisure time in the most

integrated setting.

                                                3
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 4 of 38




       8.     Person-centered planning is “an organized process of discovery and action

meant to improve a person’s quality of life . . . [designed to ensure people] the right and

opportunity to . . . develop and maintain relationships; make choices about their daily

lives; and achieve their personal goals.” Minnesota Olmstead Plan, August 10, 2015 p.

33.

       9.     Person-centered planning, when facilitated by a trained person-centered

planner, enables individuals to develop comprehensive individualized transition plans.

       10.    As part of their Disability Waiver services, Plaintiffs are entitled to hire a

trained person-centered planner. Plaintiffs need such services in order to develop a

comprehensive individualized transition plan to move to more integrated housing.

       11.    Defendants’ actions and inactions have denied Plaintiffs the opportunity to

find trained person-centered planners, to receive services from a person-centered planner

in a timely fashion, or to receive any such services in order to develop and implement

comprehensive individualized transition plans.

       12.    Even if Plaintiffs are eventually enabled to develop comprehensive

individualized transition plans, Defendants’ failure to reasonably modify its residential

service system prevents Plaintiffs from implementing their transition plans and living in

the most integrated setting.

       13.    Although Plaintiffs are capable of living in a more integrated setting,

Defendants’ administration, operation, and oversight (or lack thereof) has led to a

pervasive overreliance on segregated CRS facilities. Defendants discriminate against

Plaintiffs by failing to provide integrated individualized housing services that would

                                              4
           CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 5 of 38




enable them to have the choice and realistic opportunity to live in the most integrated

setting.

                             JURISDICTION AND VENUE

       14.     Plaintiffs bring this action pursuant to the Due Process Clause of the

Fourteenth Amendment of the Constitution of the United States, as enforced by 42 U.S.C.

§ 1983; Title II of the ADA, 42 U.S.C. §§ 12101 and 12131 et seq., and implementing

regulations; Section 504 of the Rehabilitation Act of 1973 and implementing regulations;

and the Medicaid Act 42 U.S.C. §§ 1396a et seq., and implementing regulations, as

enforced by 42 U.S.C. § 1983.

       15.     This Court has federal question jurisdiction over the claims pursuant to 28

U.S.C. § 1331, and has original jurisdiction over this matter pursuant to 28 U.S.C. §

1343(a)(3) and (4).

       16.     Venue is proper in the District of Minnesota pursuant to 28 U.S.C. §

1391(b), as the conduct alleged is occurring in this District.

                                      THE PARTIES

                                  The Individual Plaintiffs

       17.     Tenner Murphy is a 33-year-old resident of Hennepin County, Minnesota.

       18.     Kay and Richard Murphy are the parents and legal guardians of Tenner

Murphy and are residents of Hennepin County, Minnesota.

       19.     Marrie Bottelson is a 42-year-old resident of Hennepin County, Minnesota.

       20.     Dionne Swanson is a 43-year old resident of Hennepin County, Minnesota.



                                              5
         CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 6 of 38




                                       The Defendants

        21.   Defendant DHS is the statewide agency charged with overseeing and

setting policies for Minnesota’s Medicaid programs. This includes the Disability Waivers

and residential services for persons with intellectual and developmental disabilities,

traumatic brain injury, mental illness, and other disabilities.

        22.   DHS is a public entity subject to Title II of the ADA and Section 504 of the

Rehabilitation Act. DHS receives federal funds for the administration of its programs.

        23.   Defendant Emily Johnson Piper is the Commissioner of DHS. She is

responsible for administering and managing the Disability Waiver programs. She also

oversees the licensing and monitoring of residential services providers, including those

that own and operate CRS facilities. Defendant Piper is sued in her official capacity.

                                STATEMENTS OF FACT

        24.   Defendants administer four community service waiver programs for

persons with disabilities: the Developmental Disabilities (“DD”) Waiver, the Community

Access for Disability Inclusion (“CADI”) Waiver, the Community Alternative Care

(“CAC”) Waiver, and the Brain Injury (“BI”) Waiver (collectively referred to as the

“Disability Waivers”). Defendants submit these Disability Waivers to the Federal

Government and the Centers for Medicare and Medicaid Services (“CMS”) approves

them.

        25.   The Disability Waivers are funded by federal and state dollars, pursuant to

Section 1915(c) of the Social Security Act. These Disability Waivers allow Defendants to

provide a variety of services with Medicaid funding, such as residential support services,

                                              6
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 7 of 38




without having to meet certain Medicaid statutory requirements. The Disability Waivers

can fund a variety of residential services, including individualized housing services.

Services under the Disability Waivers are public programs, services, and activities

covered by Title II of the ADA.

       26.    Defendants manage Disability Waiver services in a manner that

disproportionately provides residential services in segregated, rather than individualized

and integrated, settings.

       27.    Defendants direct and manage counties, which serve as lead agencies, for

purposes of administering many health and social services programs, including Disability

Waiver services. Rather than require statewide access to individualized housing services,

Defendants provide impermissible discretion to each lead agency to choose whether to

offer individualized housing services. Most counties do not offer individualized housing

services. This abdication of DHS’s responsibility to provide and ensure choice prevents

individuals receiving Disability Waiver services from receiving an informed choice and

opportunity to live in the most integrated setting.

       28.    Defendants have failed to inform all persons receiving a Disability Waiver

of individualized housing service options and have failed to explain how to access such

services. Defendants have also failed to provide transition planning and support for such

services. Defendants have further failed to provide notices of denial or information

regarding due process rights in regards to requests for these services.

       29.    Plaintiff Tenner Murphy has severe physical and cognitive disabilities as a

result of a lifelong battle with degenerative brain cancer.

                                              7
CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 8 of 38




 a. Despite his condition, he graduated from high school envisioning living a

    typical adult life pursuing relationships, a job, activities and interests, and

    his own place to live.

 b. As his disability progressed during his twenties, he stayed in his parents’

    home where his family acted as his primary caretakers.

 c. Mr. Murphy developed hobbies, such as archery, and had many

    nondisabled friends in the community.

 d. In 2010, Mr. Murphy’s physical needs became more difficult to manage,

    and his parents made the difficult decision to look for an out-of-home

    placement.

 e. Mr. Murphy’s case manager at the time told Mr. Murphy and his family

    that he could receive a Disability Waiver in order to move into a CRS

    facility.

 f. When he moved into his CRS facility, Mr. Murphy was walking on a

    regular basis. But the CRS staff now make him use a wheelchair because

    there is often not enough staff available or willing to assist him when he

    wants to walk.

 g. On a typical day, Mr. Murphy spends most of his time alone, even though

    he would prefer to interact with other people. He will often spend several

    hours sitting on the deck, the porch, or the dining room table by himself.

 h. Because of distance and staffing patterns at the CRS facility, he rarely goes

    to the archery range. He no longer follows his favorite television news

                                    8
CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 9 of 38




    programs because his preferred shows are broadcast at a time when house

    rules prohibit television watching.

 i. Mr. Murphy has no control about how staff members are hired or trained

    and has no control of what housemates are moved into the facility.

 j. The other residents in the CRS facility have difficulty communicating and

    Mr. Murphy rarely speaks or interacts with them. Because he enjoys

    meeting new people and conversing with others, Mr. Murphy wants to be

    able to choose his own roommates.

 k. Although Kay Murphy, Mr. Murphy’s mother and legal guardian, has asked

    several people at the lead agency about accessing more individualized

    housing options, Mr. Murphy remains stuck in a segregated setting, where

    his interactions are largely limited to other persons with disabilities and

    paid staff.

 l. Despite receiving no information from Defendants about Mr. Murphy’s

    right to live in his own home, Mr. Murphy’s family recently purchased a

    new housing unit, with the hopes of having Mr. Murphy move into it with

    roommates of his choosing.

 m. Despite this positive advancement, Mr. Murphy is still stuck in the CRS

    facility because of Defendants’ failure to provide an informed choice of

    integrated alternatives. They have prevented Mr. Murphy from choosing

    individualized housing services, such as a live-in caregiver that he can hire



                                    9
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 10 of 38




                and train to help him more fully interact with his community and be as

                integrated as possible.

             n. Mr. Murphy has not received a notice of denial or information regarding his

                due process rights in regards to his request for these services.

       30.      Plaintiff Marrie Bottelson has cerebral palsy and other developmental

disabilities.

             a. She uses a motorized wheelchair and needs personal assistance in order to

                do basic daily tasks, such as getting dressed and eating.

             b. Despite her disabilities, she is a successful artist and a valued member of

                the arts community in Minnesota. She is also her own guardian and prides

                herself in making independent decisions about her life.

             c. She has lived in a CRS facility for about thirteen years.

             d. For the past several years, she has asked the different case managers she

                has had to help her move into her own apartment with her current

                roommate and best friend, Dionne Swanson. Her case managers and county

                workers, however, have told Ms. Bottelson that there are no other options

                for her.

             e. Because of staffing patterns in the facility, Ms. Bottelson is forced to go to

                bed at 7 or 8 p.m. because there is no other way for her to receive necessary

                care.

             f. Staffing patterns also dictate how much time Ms. Bottelson can spend in

                the community. Because of this, her interaction with the community is

                                               10
CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 11 of 38




     severely limited, and she does not get out into the community nearly as

     much as she would if she were able to create her own schedule.

  g. To be as independent as possible, Ms. Bottelson would like to hire her own

     staff and live in her own apartment. One of her goals is to continue building

     her art business, and she would like space in her own home to set up a

     small art studio to more easily work from home.

  h. Ms. Bottelson would like to live with her best friend and current roommate,

     Dionne Swanson. Together, they have often talked of finding an apartment

     or other small residence. She needs person-centered planning to help her

     develop an individualized moving plan and other individualized housing

     services in order to make these goals a reality.

  i. Ms. Bottelson’s previous case managers told her several times that

     individualized housing is not a possibility for her, even though she lived in

     her own apartment for nearly ten years before moving into her current CRS.

  j. In 2013 Ms. Bottelson asked her previous case manager to help her find

     individualized housing as an alternative to her CRS facility. She was told

     that such housing was too hard to find, and has not been given alternative

     options to consider.

  k. Although she recently met with a person-centered planner in July, 2016,

     she has not received all the necessary individualized housing services to

     help her find or develop alternatives to her current CRS facility.



                                    11
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 12 of 38




             l. Ms. Bottelson has not received a notice of denial or information regarding

                her due process rights in regards to her request for these services.

       31.      Plaintiff Dionne Swanson has cerebral palsy and other developmental

disabilities.

             a. She uses a motorized wheelchair and needs personal assistance in order to

                do basic daily tasks, such as getting dressed and eating.

             b. Ms. Swanson is her own guardian and has developed many independent

                skills over the years. Still, Ms. Swanson’s case managers have told her she

                is not “independent enough” for individualized housing. Defendants,

                however, do not impose such criteria for individualized housing.

             c. As her own guardian, Ms. Swanson wants to make basic decisions other

                adults are able to make, such as choosing what time to go to bed. Instead,

                for staff convenience, she is often forced to go to bed at 7:00 or 8:00 p.m.

             d. Ms. Swanson has had difficulty getting group home staff to provide care

                that respects her wishes.

             e. Ms. Swanson needs person-centered planning services, and other

                individualized housing services to help her create and execute a plan to live

                in the most integrated setting appropriate to her needs.

             f. Despite asking for person-centered planning and other individualized

                housing services for a long time, Ms. Swanson has not received them. She

                has never received a notice of denial or information regarding her due

                process rights in regards to her request for these services.

                                               12
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 13 of 38




                             STATUTORY BACKGROUND

                     Section 1983 Medicaid and Constitutional Claims

       32.    Medicaid is a healthcare and related services program jointly operated and

funded by the federal government and each participating state. Once a state chooses to

participate, it must operate its program in compliance with federal statutory and

regulatory requirements. 42 U.S.C. § 1396a. The State of Minnesota has chosen to

participate in the Medicaid program.

       33.    Minnesota’s Disability Waiver services are Medicaid services that provide

a comprehensive, cost-effective, home and community-based package of services for

individuals with disabilities, such as Plaintiffs. They allow individuals to receive services

outside of institutional settings such as nursing facilities and intermediate care facilities

for persons with developmental disabilities.

       34.    Disability Waiver services include a wide array of services and supports,

such as direct care staffing, vocational skills and employment assistance, environmental

modifications and other assistive technology, transitional and housing assistance, and

other services designed to help people with disabilities live in his or her own home and

interact with the larger nondisabled community.

       35.    Medicaid requires the provision of services with reasonable promptness. 42

U.S.C. § 1396a(a)(8) and 42 C.F.R. § 435.930(a).

       36.    42 U.S.C. § 1983 entitles Plaintiffs to enforce provisions of Defendant

DHS’s Medicaid Act obligations, including 42 U.S.C. § 1396a(a)(8).



                                               13
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 14 of 38




       37.    Constitutional Due Process requirements mandate that Defendants provide

proper notice prior to adverse actions and access to fair hearings. Medicaid also requires

the provision of notice and due process requirements, including a fair hearing when

services are not provided with reasonable promptness. 42 U.S.C. § 1396a(a)(3). 42

U.S.C. § 1983 entitles Plaintiffs to enforce these requirements.

              The Americans with Disabilities Act and the Rehabilitation Act

       38.    The ADA provides that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of

the services, programs, or activities of a public entity, or be subjected to discrimination

by any such entity.” 42 U.S.C. § 12132. The Rehabilitation Act similarly prohibits

discrimination against persons with disabilities by entities that receive federal financial

assistance. 29 U.S.C. § 794(a).

       39.    In 1990, Congress enacted the ADA “to provide a clear and comprehensive

national mandate for the elimination of discrimination against individuals with

disabilities.” 42 U.S.C. § 12101(b)(1). Among the specific issues the ADA addresses are

actions that prevent persons with disabilities from “fully participat[ing] in all aspects of

society” and “relegation to lesser services, programs, activities, benefits, jobs, or other

opportunities.” Id. §§ 12101(a)(1), (5).

       40.    In enacting the ADA, Congress found that “historically, society has tended

to isolate and segregate individuals with disabilities, and, despite some improvements,

such forms of discrimination against individuals with disabilities continue to be a serious

and pervasive social problem.” Id. § 12101(a)(2).

                                              14
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 15 of 38




       41.    Congress also found that “people with disabilities, as a group, occupy an

inferior status in our society, and are severely disadvantaged socially, vocationally,

economically, and educationally; [and] the Nation’s proper goals regarding individuals

with disabilities are to assure equality of opportunity, full participation, independent

living, and economic self-sufficiency for such individuals.” Id. §§ 12101(a)(6), (7).

       42.    Title II of the ADA prohibits discrimination on the basis of disability by

public entities. 42 U.S.C. § 12132. A “public entity” is any state or local government and

any department, agency, or other instrumentality of a state or local government, and

covers all services, programs, and activities provided or made available by public entities,

including through contractual, licensing, or other arrangements. See id. §§ 12131(1),

12132; 28 C.F.R. § 35.130. Accordingly, Title II’s coverage extends to the state of

Minnesota, Defendants’ agencies, and Defendants’ residential service system and

Disability Waiver programs.

       43.    Congress directed the Attorney General to issue regulations implementing

Title II of the ADA. 42 U.S.C. § 12134.

       44.    The Title II regulations require public entities to “administer services,

programs, and activities in the most integrated setting appropriate to the needs of

qualified individuals with disabilities.” 28 C.F.R. § 35.130(d). This is known as the

integration mandate. The Rehabilitation Act contains a similar requirement. Id. §

41.51(d).




                                             15
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 16 of 38




       45.     The “most integrated setting” is one that “enables individuals with

disabilities to interact with nondisabled persons to the fullest extent possible . . . .” 28

C.F.R. § Pt. 35, App. A (2010).

       46.     Section 504 of the Rehabilitation Act, 29 U.S.C. § 794(a), also prohibits

discrimination on the basis of disability. Section 504’s implementing regulations provide

that recipients of federal funds “shall administer programs and activities in the most

integrated setting appropriate to the needs of qualified handicapped persons.” 28 C.F.R. §

41.51(d).

                                       Olmstead v. L.C.

       47.     The Supreme Court has held that Title II prohibits the unjustified

segregation of individuals with disabilities. Olmstead v. L.C., 527 U.S. 581, 597 (1999).

       48.     The Supreme Court’s holding in Olmstead affirmed that segregation of

disabled persons is inconsistent with the interest of community integration and impedes

certain daily activities to which they are entitled to participate: “First, institutional

placement of persons who can handle and benefit from community settings perpetuates

unwarranted assumptions that persons so isolated are incapable or unworthy of

participating in community life.” Id. at 600. “Second, confinement in an institution

severely diminishes the everyday life activities of individuals, including family relations,

social contacts, work options, economic independence, educational advancement, and

cultural enrichment.” Id. at 601.

       49.     Under Olmstead, public entities are required to provide community-based

services when (a) such services are appropriate, (b) the affected persons do not oppose

                                               16
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 17 of 38




community-based treatment, and (c) community-based services can be reasonably

accommodated, taking into account the resources available to the entity and the needs of

other persons with disabilities. Id. at 607.

             Home and Community Based Services: Community Setting Rule

       50.    In January 2014, the CMS published a final administrative rule defining a

community setting for the purposes of Home and Community Based Services (“HCBS”).

42 CFR § 441.301(c).

       51.    In order to comply with the rule, all persons receiving a Disability Waiver

in Minnesota must receive services in a setting that, among other things, is: “selected by

the individual from among options, including non-disability purposed housing; integrated

in and supports full access to the greater community; optimizes autonomy and

independence in making life choices; facilitates choice regarding services and who

provides them.” 42 CFR § 441.301(c)(4).

       52.    This rule is intended to “ensure that the setting chosen by the individual is

integrated in, and supports full access of individuals receiving Medicaid HCBS to the

greater community, including opportunities to seek employment and work in competitive

integrated settings, engage in community life, control personal resources, and receive

services in the community to the same degree of access as individuals not receiving

Medicaid HCBS.” 42 CFR § 441.301(c)(2)(i).

                               The Minnesota Olmstead Plan

       53.    Pursuant to a 2011 Stipulated Class Action Settlement Agreement arising

out of a lawsuit filed in Minnesota Federal District Court, the State of Minnesota and

                                               17
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 18 of 38




Defendant DHS agreed to develop and implement an Olmstead Plan. Defendants

submitted their most recent draft on August 10, 2015. The Court approved the plan on

September 29, 2015. Corresponding “Work Plans” were approved by the Court on

November 6, 2015.

        54.   Neither the Olmstead Plan nor the Work Plans addresses CRS facilities or

individualized housing services. Nor do they describe how DHS plans to provide

residential services in more integrated settings for persons stuck in a CRS facility.

        55.   In its Orders approving the Olmstead plan and the Work Plans, the Court

reserved jurisdiction over implementation of the plan and the Work Plans. Jensen v.

MDSH, Order, 14-15, September 29, 2015; Jensen v. MDSH, Order, 3, November 3,

2015.

        56.   In March, 2016, as part of the Olmstead Plan, Defendants released their

Person-Centered, Informed Choice and Transition Protocols (“Protocols”) as a guide for

lead agencies. Defendants claim the Protocols are designed to communicate DHS’s

expectations to lead agencies regarding person-centered practices.

        57.   Although Defendants require lead agencies to implement the Protocols,

they have failed to directly inform persons in CRS facilities about person-centered

planning services and other individualized housing services that would allow them to

move to a more integrated setting.

        58.   These expectations about person-centered principles and practices in the

Protocols are purposefully broad, designed to apply to all populations who receive long-

term services from Defendants. They only provide generalized suggestions, rather than

                                             18
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 19 of 38




enforceable requirements, for lead agencies to consider when someone receiving services

is moving from one setting to another. As such, the Protocols do not ensure Plaintiffs

access to a trained person-centered planner who is able to help develop a comprehensive

individualized moving plan.

       59.    While Defendants claim the Protocols are useful to helping change general

culture and practice within Defendants’ service system, they are not designed to help

Plaintiffs move into the most integrated setting and therefore, they are not sufficient.

They fail to direct or provide any guidance as to how lead agencies and individuals with

disabilities can actually receive services in the most integrated setting.

       60.    In earlier drafts of the Olmstead Plan, DHS identified some specific

individualized housing services, such as Individualized Housing Options (“IHO”), as

assistance to help people move to and remain in the most integrated setting. In the current

plan, however, Defendants have eliminated all references to IHO. The Protocols are

similarly silent on how individuals are supposed to learn about, develop, plan for, move

into, and remain in individualized and integrated alternatives to segregated settings.

       61.    Nothing in the Protocols, the Olmstead Plan, or the Work Plans indicates

how DHS will reduce its overreliance on CRS facilities by providing appropriate services

to people entitled to more integrated alternatives than CRS facilities, as required under

the integration mandates of the ADA and Section 504 of the Rehabilitation Act.

       62.    While Defendants have promised, in the Olmstead Plan, to move 5,547

people into more integrated settings, there are very few details of how or when this will



                                              19
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 20 of 38




happen, where these persons will come from (including whether or not they will come

from CRS settings), or how and if they will be informed of the purported options.

       63.      Defendants lack a working plan with accurate data, details, and measurable

goals to:

             a. Specifically address how to fix its residential service system that over-relies

                on CRS facilities to the detriment of integrated alternatives such as

                individualized housing services; and

             b. Ensure that Individual Plaintiffs and Class Members are receiving services

                in the most integrated settings.

                  MINNESOTA’S RESIDENTIAL SERVICE SYSTEM
                 FOR PERSONS RECEIVING A DISABILITY WAIVER

       64.      As noted above, Minnesota’s Disability Waivers pay for residential services

in a variety of settings, including CRS facilities. Defendants license CRS facilities

through Minnesota Statute Chapter 245D.

       65.      As of July, 2016, there are approximately 3,457 actively licensed CRS

facilities, serving nearly 13,800 individual Disability Waiver recipients.

       66.      Defendants have known, since at least 2009, that individuals receiving

Disability Waiver services need access to individualized housing as an alternative to CRS

facilities. In that year, the state legislature enacted a moratorium on the building of new

CRS facilities. This moratorium has capped the total number of available CRS facility

beds statewide.




                                               20
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 21 of 38




       67.    While Defendants currently approve some limited individualized

alternatives for a small number of Disability Wavier recipients, they have failed to

recognize Plaintiffs’ individual choice and circumstances and have thus refused to ensure

the residential service system provides services in the most integrated setting.

                                      The CRS Model

       68.    Before receiving Disability Waiver services, individuals must first go

through an assessment process. If they qualify, the lead agency should offer the

individual Disability Waiver services as an alternative to services in an institution.

       69.    Defendants require the lead agency to develop a support plan for the

individual that identifies his or her needs and the types of services necessary and

available to meet those needs. Defendants do not ensure, however, that individuals are

receiving services in the most integrated setting appropriate to their needs.

       70.    Under the current system, Defendants approve the funding of Disability

Waiver services in CRS facilities while failing to ensure that such a setting is the most

integrated setting appropriate for the individual.

       71.    If given a Disability Waiver, the individual is notified of available CRS

facilities where the Disability Waiver will pay for support services. Defendants, however,

do not provide information about more integrated alternatives to CRS facilities or

information about how to access individualized housing services.

       72.    If no CRS openings are immediately available, the case manager may

contact CRS providers directly, speak with other case managers and lead agencies, or



                                             21
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 22 of 38




search the CRS online database to determine when an open bed in a CRS facility may

become available.

       73.    If an opening is located and the CRS operator is willing to accept the

individual, then he or she can move in.

       74.    Case managers rarely discuss integrated alternatives to CRS facilities.

Defendants have failed to require case managers to inform individuals of such services or

provide individualized plans that could help Disability Waiver recipients choose, plan

for, and eventually move into individualized and integrated settings.

       75.    CRS facilities are inadequate for Plaintiffs because they do not enable them

to access their communities and interact with nondisabled persons in the community to

the fullest extent possible as required by the integration mandates of the ADA and

Section 504 of the Rehabilitation Act.

       76.    Although many CRS residents, including Individual Plaintiffs, are told they

can go into the community, staffing patterns, CRS house rules, and other administrative

restrictions limit the scope and duration individuals can actually participate in everyday

community activities.

       77.    Many CRS residents have daily tasks done “for them,” even if they want to

and are capable of doing tasks on their own. The lowered expectations and reduced skill-

sets that CRS facilities engender pervade the public consciousness. This reinforces and

perpetuates negative stereotypes about people with intellectual and developmental

disabilities, mainly that they are unable and unfit to live in more integrated settings.



                                              22
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 23 of 38




       78.    Many CRS residents are frequently forced to spend their time secluded in

CRS facilities, unable to participate in community life with their nondisabled peers. They

have little or no choice about whom to associate with, where or when to go into the

community, and how to structure their everyday schedule and lives.

       79.    This lack of interaction with the larger community can be harmful. For

many residents, an unchanging daily routine causes their social and independent living

skills to atrophy, leading to an even lower likelihood that they will ever transition to

living and working in the community. It also leads to lower self-esteem and lowered

expectations of themselves, similar to the “learned helplessness” described in DAI v.

Paterson, 653 F. Supp. 2d 184, 214 (E.D.N.Y. 2009) (“When individuals are treated as if

they are helpless, the helplessness becomes a learned phenomenon.”) (internal quotations

omitted).

                         Integrated Alternatives to CRS Facilities

       80.    Individualized housing services are both a process and a result.

Collectively, the process of assisting a person to create an individualized residential

services plan and to obtain the services necessary to live in a more integrated setting

complies with the concepts of a “community setting” as required by the CMS Settings

rule and the most integrated setting as articulated in Olmstead v. L.C.

       81.    Individuals who develop and live in individualized housing settings are

given greater opportunities to interact and integrate themselves in the greater community,

as they can, for example, have nondisabled roommates, set their own daily schedules and



                                             23
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 24 of 38




social outings, hire and control their staffing and services, and develop networks of

friends without disabilities.

       82.      Individualized housing services help ensure individuals are living and

working in the most integrated setting.

       83.      Persons receiving individualized housing services experience greater

opportunities to interact with neighbors, meet and develop relationships with persons

without disabilities, and build or maintain basic living skills in a manner that often is not

possible in CRS facilities.

       84.      Disability Waivers offer services that help individuals transition from less

integrated settings into homes of their own. These include, but are not limited to:

             a. The service of Consumer Training and Education and Family Training and

                Counseling, which allows individuals to hire trained person-centered

                planners to help develop self-advocacy skills and create more

                individualized service plans, including a personal housing transition plan

                that will lay the foundation for a move into a more integrated setting; and

             b. The service of Housing Access Coordination and Transitional Services

                which helps people with the logistics of moving.

       85.      Plaintiffs want access to these and other Disability Waiver services to help

them transition to more integrated settings, but Defendants fail to ensure individuals have

notice of, information regarding, or access to these services. Because these services are

never offered or provided, Plaintiffs have no means of appealing or otherwise challenging

DHS’s actions.

                                              24
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 25 of 38




       86.    Defendants claim their Protocols require lead agencies to follow person-

centered practices when individuals with disabilities are moving from one setting to

another. Disability Waiver recipients, however, have no means of knowing about the

Protocols or any mechanism to enforce them.

       87.    Furthermore, Defendants’ Protocols only provide generalized and vague

suggestions regarding person-centered planning rather than requiring specific,

customized, written, and enforceable personal housing transition plans necessary to help

individuals plan for, develop, and eventually move into integrated and individualized

settings. The Protocols also fail to ensure service recipients will be offered the

opportunity to receive person-centered planning, transition, and individualized housing

services from trained providers.

       88.    DHS regulates all individualized housing services for individuals with

disabilities while primarily relying on individual counties and private service providers to

provide such services. Defendants have designed Protocols that fail to provide or require

policies, procedures, rules, or other regulations to direct counties to deliver individualized

housing services.

       89.    As a result of Defendants’ lack of individualized housing services

management, Plaintiffs are denied access to individualized housing services.

       90.    Because of Defendants’ lack of planning and oversight, there is a severe

shortage of individualized housing providers in the state.

       91.    Defendants have failed to implement individualized housing services as

alternatives to CRS, or to ensure that its current service planning system requires even the

                                             25
         CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 26 of 38




consideration of alternatives to CRS. Defendants has also failed to implement the

integrated residential goals of persons with disabilities, or to ensure there is a sufficient

capacity or planning for individualized housing services to allow persons with disabilities

to find individualized housing and support to live in a setting more integrated than CRS

facilities.

                           CLASS ACTION ALLEGATIONS

        92.   Plaintiffs bring this class action pursuant to Rule 23(a) and (b)(2) of the

Federal Rules of Civil Procedure; the Due Process Clause of the Fourteenth Amendment

of the Constitution of the United States and the Medicaid Act, 42 U.S.C. §§ 1396a(a)(8)

and 1396a(a)(3), as enforceable under 42 U.S.C. § 1983; Title II of the ADA, 42 U.S.C.

§§ 12101 and 12131 et seq. and implementing regulations; and Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. § 794 and implementing regulations.

        93.   The Individual Plaintiffs bring this action on behalf of themselves and other

individuals age 18 and older who are eligible for and have received a Disability Waiver,

live in a licensed CRS facility, and have not been given the choice and opportunity to

reside in the most integrated residential setting appropriate to their needs.

        94.   The members in the Class are so numerous that joinder of all members is

impracticable.

        95.   The Class is ascertainable, as all potential Class Members can be identified

in Defendants’ current records of Medical Assistance and Disability Waiver recipients

and CRS facility residents.

        96.   Plaintiffs estimate that there are at least 800 members of the Class.

                                              26
       CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 27 of 38




     97.      There are common issues of law relating to the Class that predominate,

including, among other issues:

           a. Whether the Defendants are violating the Due Process Clause of the United

              States Constitution and Plaintiffs’ Medicaid rights by failing to provide

              written notice of appeal rights when Individualized Housing services are

              denied, including person-centered planning provided through the Disability

              Waivers and notice of appeal rights for such denial;

           b. Whether the Defendants are violating the Plaintiffs’ Medicaid rights by

              failing to provide timely access to person-centered planning;

           c. Whether the Defendants are violating the ADA and Rehabilitation Act by

              planning, administering, and operating a residential services system that:

                  i. Unnecessarily segregates Plaintiffs in CRS facilities and fails to

                     provide informed choice of more integrated alternatives;

                 ii. Discriminates against the Plaintiffs by providing residential services

                     to them in settings that are not the most integrated settings

                     appropriate to their needs; and

                iii. Fails to provide the Plaintiffs with individualized housing services to

                     allow them to transition to the most integrated settings appropriate to

                     their needs.

     98.      There are common issues of fact relating to the Class that predominate,

including, among other facts:



                                             27
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 28 of 38




            a. Whether the Plaintiffs are receiving notice of adverse action and

               opportunity to challenge the failure to provide individualized housing

               services, including person-centered planning services;

            b. Whether the Defendants have failed to provide person-centered planning

               services to Plaintiffs with reasonable promptness;

            c. Whether as a result of the Defendants’ actions and inactions in planning,

               administering, and operating the residential service system for persons with

               disabilities, Plaintiffs are provided services that enable them to live in the

               most integrated residential setting appropriate to their needs; and

            d. Whether the Defendants have a comprehensive and effective working plan

               for providing integrated residential services to the Plaintiffs.

      99.      The Individual Plaintiffs seek injunctive and declaratory relief individually

and on behalf of the respective Class Members in order to access, utilize, and benefit

from the Disability Waiver services for which they are eligible. The Individual Plaintiffs

adequately and fairly represent the interest of all Class Members, will fully and

vigorously prosecute this action, and are represented by attorneys experienced in class

action litigation and disability law.

    100.       The Individual Plaintiffs’ injuries and claims are typical of those of the

Class in that all the Class Members are unable to access and use individualized housing

services for the purpose of moving to the most integrated setting appropriate to their

needs. This harm to Class Members is a result of the Defendants’ failure to act properly



                                              28
          CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 29 of 38




with regard to planning, administering, and supporting their residential service system for

persons with disabilities.

    101.       Individual Plaintiffs and Class Members have a common remedy:

modifications to Defendants’ residential service system to provide individuals with

choices and prevent needless segregation of individuals in segregated residential settings.

                                       COUNT I
                        (Asserted Against Commissioner Piper)
       Failure to Furnish Services with Reasonable Promptness in Violation of
            42 U.S.C. § 1396a(a)(8) as Enforceable Under 42 U.S.C. § 1983

    102.       Plaintiffs re-allege the preceding paragraphs as though fully set forth

herein.

    103.       Minnesota voluntarily participates in the federal Medicaid program under

42 U.S.C. §§ 1396 et seq., and as a condition of its participation in that program, must

ensure that services for eligible persons are provided in a reasonably prompt manner.

    104.       The Medicaid program in Minnesota includes the provision of Disability

Waiver services that Plaintiffs receive.

    105.       Federal law requires any state which has elected to participate in the

Medicaid program under 42 U.S.C. §§ 1396 et seq., to provide all services to eligible

individuals with reasonable promptness. 42 U.S.C. § 1396a(a)(8); 42 C.F.R. § 435.930.

    106.       Defendant Piper has administered and continues to administer Disability

Waiver services in a manner that denies Plaintiffs person-centered planning and other

individualized housing services offered through Disability Waivered services.




                                             29
          CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 30 of 38




    107.       Specifically, Defendant Piper has failed to establish administrative

procedures that ensure individuals who are qualified for and requesting services to help

transition to a more integrated setting will actually receive those services. She has failed

to direct counties and lead agencies to obtain, respond to, and act upon individual

requests to use Disability Waiver services in more integrated settings. Her actions and

inactions have violated Plaintiffs’ rights under 42 U.S.C. § 1396a(a)(8) and its

implementing regulations and thus are enforceable as violations of 42 U.S.C. § 1983.

    108.       Defendant Piper’s acts and omissions violate the law and have caused and

continue to cause Plaintiffs harm. Defendant Piper has denied Plaintiffs timely

individualized housing services without proper notice thereof, and they have thereby

sustained injuries that include, but are not limited to, ongoing segregation from persons

without disabilities.

    109.       Plaintiffs are entitled to injunctive relief, declaratory relief, and attorneys’

fees and costs resulting from the violation of Plaintiffs’ Medicaid rights, as enforceable

under 42 U.S.C. § 1983.

                                      COUNT II
                        (Asserted Against Commissioner Piper)
              Violation of Due Process, Advance Notice, and Fair Hearing
                         as Enforceable Under 42 U.S.C. § 1983

    110.       Plaintiffs re-allege the preceding paragraphs as though fully set forth

herein.




                                               30
        CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 31 of 38




    111.      Plaintiffs are Medicaid beneficiaries receiving a Disability Waiver who

have been denied access to individualized housing services, including person-centered

planning, due to Defendant Piper’s actions and inactions.

    112.      Defendant Piper has failed to provide Plaintiffs notice of adverse action and

opportunity to challenge the failure to provide these individualized housing services.

    113.      Defendant Piper has failed to require lead agencies to provide Plaintiffs

notice of adverse action and opportunity to challenge the failure to provide these

individualized housing services.

    114.      These failures have resulted in ongoing harm and Plaintiffs’ continued

inability to receive individualized housing services.

    115.      Defendant Piper’s conduct has caused Plaintiffs harm and has violated:

           a. Plaintiffs’ Due Process rights under the Fourteenth Amendment of the

              Constitution of the United States; and

           b. The advance notice and fair hearing requirements contained in the

              Medicaid Act, 42 U.S.C. § 1396a(a)(3), and its implementing regulations,

              42 C.F.R. §§ 431.200 to 431.250.

    116.      Defendant Piper’s conduct violates Plaintiffs’ rights and is redressable

under 42 U.S.C. § 1983.

    117.      Plaintiffs are entitled to injunctive relief and declaratory relief resulting

from the violation of Plaintiffs’ Constitutional rights and injunctive relief, declaratory

relief, and attorneys’ fees and costs resulting from the violation of Medicaid rights, as

enforceable under 42 U.S.C. § 1983.

                                              31
          CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 32 of 38




                                      COUNT III
                         (Asserted Against Commissioner Piper)
                                 Violation of Title II of
                           The Americans with Disabilities Act

    118.       Plaintiffs re-allege the preceding paragraphs as though fully set forth

herein.

    119.       Plaintiffs are individuals with disabilities within the meaning of the ADA.

42 U.S.C. § 12131(2). Plaintiffs are substantially limited in one or more major life

activities such as learning, working, and brain function.

    120.       Defendant Piper, acting in her official capacity, is responsible for the

operation of DHS, which is a public entity within the meaning of the ADA.

    121.       Plaintiffs are qualified to receive Disability Waiver services, which are

public programs, services, and activities covered by Title II of the ADA. Plaintiffs are

capable of and want to live in the most integrated setting appropriate to their needs and

Defendant Piper can reasonably accommodate their requests.

    122.       Defendant Piper is violating Title II of the ADA and its implementing

regulations by failing to offer and provide services to Plaintiffs in the most integrated

setting appropriate to their needs.

    123.       Defendant Piper is violating Title II of the ADA and its implementing

regulations by unnecessarily segregating the Plaintiffs in CRS facilities that are not the

most integrated settings available to meet their needs.




                                              32
          CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 33 of 38




    124.       Defendant’s violations, through acts and omissions, have caused Plaintiffs

harm. Plaintiffs have sustained injuries that include, but are not limited to, ongoing

segregation from persons without disabilities.

    125.       Plaintiffs are entitled to injunctive relief, declaratory relief, and attorneys’

fees and costs resulting from the violation of Title II of the ADA and its implementing

regulations.

                                       COUNT IV
                    Violation of Section 504 of the Rehabilitation Act

    126.       The Plaintiffs re-allege the preceding paragraphs as though fully set forth

herein.

    127.       The Plaintiffs are qualified individuals with disabilities under Section 504

of the Rehabilitation Act.

    128.       The Defendants receive federal financial assistance for their programs and

activities.

    129.       The Defendants are violating Section 504 and its regulations by failing to

offer and provide services to Plaintiffs in the most integrated setting appropriate to their

needs.

    130.       The Defendants are violating Section 504 and its regulations by

unnecessarily segregating the Plaintiffs in CRS facilities that are not the most integrated

settings available to meet their needs.




                                               33
       CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 34 of 38




    131.       Defendants’ violations, through acts and omissions, have caused Plaintiffs

harm. Plaintiffs have sustained injuries that include, but are not limited to, ongoing

segregation from persons without disabilities.

    132.       Plaintiffs are entitled to injunctive relief, declaratory relief, and attorneys’

fees and costs resulting from the violation of Section 504 and its regulations.

                                  PRAYER FOR RELIEF

       WHEREFORE, the Individual Plaintiffs respectfully request that this Court:

       1.      Certify this case as a class action pursuant to Fed. R. Civ. P. 23.

       2.      Issue a declaratory judgment that Defendant Piper is violating the Medicaid

Act by failing to provide the Plaintiffs Medical Assistance services with reasonable

promptness and violating their Constitutional Due Process and Medicaid due process

rights related to Medical Assistance services.

       3.      Issue a declaratory judgment that:

            a. Defendant Piper is violating the Americans with Disabilities Act by

               segregating the Individual Plaintiffs and Class Members while failing to

               provide them with individualized housing services for which they are

               eligible;

            b. Defendants are violating the Rehabilitation Act by segregating the

               Individual Plaintiffs and Class Members while failing to provide them with

               individualized housing services for which they are eligible.

       4.      Issue preliminary and permanent injunctions requiring the Defendants to:



                                               34
CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 35 of 38




  a. Promptly ensure every Disability Waiver recipient living in a CRS facility

     receives notice about eligibility for and access to individualized housing

     services, including person-centered planning;

  b. Specifically provide access and take prompt steps to make individualized

     housing services, including person-centered planning, available to Plaintiffs

     in a reasonable amount of time, including:

          i. Access to person-centered planning services that ensure an

              individual receives a comprehensive personal transition plan with

              enforceable timelines, identifiable tasks, persons responsible for

              such tasks, descriptions of the integrated housing options from

              which to choose, and any other information necessary to facilitate

              a transition and subsequent life in the most integrated setting; and

          ii. Access to services that ensure creation of and facilitate

              implementation of the comprehensive moving plan.

  c. Take such other steps as necessary to enable Plaintiffs to receive residential

     services in the most integrated setting appropriate to their needs, including,

     but not limited to:

          i. Administering and operating their residential service system in a

              manner which actively promotes individualized housing services;

          ii. Modifying their residential service system, making such changes

              as approved by the Court, that describe each of the activities that



                                    35
CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 36 of 38




            must be undertaken to permit timely access to available

            individualized housing services, including but not limited to:

             A. Changes to benefit programs that ensure an individual has

                 adequate notice of, access to, and support to enable a proper

                 transition into the most integrated setting for which they are

                 eligible;

             B. Changes to applicable service definitions and regulations;

             C. Changes to policies and procedures and lead agency

                 requirements regarding person-centered transition planning;

             D. Statewide planning related to the implementation of person-

                 centered transition plans;

             E. Statewide planning and training, including the proper

                 development of direct service professionals, case managers,

                 and lead agency staff to provide individualized housing

                 services and to support service recipients in the most

                 integrated setting;

             F. Family and self-advocacy education regarding housing

                 options for individuals;

             G. Infrastructure modifications such as changes to the statewide

                 individualized housing networking process; and




                                  36
       CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 37 of 38




                        H. Planning and interagency coordination to ensure that

                            integrated alternatives to CRS facilities are available to those

                            who want to live in the most integrated setting.

                   iii. Developing a periodic auditing process that ensures people in CRS

                      facilities are enabled to develop personal transition plans and

                      implement such plans so as to live in the most integrated setting

                      appropriate to their needs.

       5.     Award the Plaintiffs their reasonable attorneys’ fees, costs, disbursements,

interests and costs of investigation, as allowed by and consistent with applicable law; and

       6.     Grant any other relief which is necessary and proper to protect the rights of

the Individual Plaintiffs and Class Members.




                                            37
       CASE 0:16-cv-02623-DWF-LIB Doc. 33 Filed 02/23/17 Page 38 of 38




                                   MID-MINNESOTA LEGAL AID
                                   MINNESOTA DISABILITY
                                   LAW CENTER


Dated: February 17, 2017       By: /s/ Justin H. Perl
                                   Justin H. Perl (# 151397)
                                   Sean Burke (# 0392115)
                                   430 First Avenue North, Suite 300
                                   Minneapolis, MN 55401
                                   (612) 746-3759 (Telephone and Fax)
                                   jperl@mylegalaid.org
                                   sburke@mylegalaid.org



                                   ANTHONY OSTLUND
                                   BAER & LOUWAGIE P.A.


Dated: February 17, 2017       By: /s/ Joseph W. Anthony
                                   Joseph W. Anthony (#0002872)
                                   Steven M. Pincus (#0171414)
                                   Peter J. McElligott (#0397578)
                                   90 South 7th Street
                                   3600 Wells Fargo Center
                                   Minneapolis, MN 55402
                                   Telephone: 612-349-6969
                                   janthony@anthonyostlund.com
                                   spincus@anthonyostlund.com
                                   pmcelligott@anthonyostlund.com

                                   ATTORNEYS FOR THE PLAINTIFFS




                                     38
